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 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                 SAN FRANCISCO DIVISION

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11   IN RE: ZOOM VIDEO COMMUNICATIONS                    Master Case No. 3:20-cv-02155-LB
     INC. PRIVACY LITIGATION,
12
                                                         PROPOSED ORDER GRANTING
13                                                       MOTION FOR AWARD OF
     This Document Relates To:                           ATTORNEYS FEES AND INCENTIVE
14         All Actions                                   AWARD TO OBJECTORS SAMMY
                                                         RODGERS AND ALVERY NEACE
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16

17          On December 16, 2022 the Court approved an amended class settlement in this action
18
     based on a settlement agreement between Plaintiffs, Defendant, and objectors Sammy Rodgers,
19
     Alvery Neace, and Judith Cohen. ECF 261. The terms of the agreement allowed objectors
20
     Rodgers and Neace to each seek a service payment of $1,000 and for reimbursement of attorney
21
     fees and expenses up to $47,900. ECF 259-3. These incentives, reimbursement of expenses and
22

23   payment of attorney fees are reasonable and agreed to by class counsel.

24          The Court has considered the arguments within the Motion for Attorneys’ Fees and
25   Incentive Award for Objectors Sammy Rodgers and Alvery Neace pursuant to Fed. R. Cv. Proc.
26
     23(h) and the Declaration of J. Allen Roth including time records. The Court finds that Objectors
27
     Sammy Rodgers and Alvery Neace caused an improvement to the administration of the class
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 1   action including causing a change to the website to enable claimants to easily update their contact
 2   information so they may receive their payment. In addition, the settlement administrator will
 3
     contact claimants if a physical check sent to them is returned to the sender. Checks will
 4
     automatically be sent to a new address if returned and a database shows the claimant’s new
 5
     address. Finally, checks will be valid for 120 days in case the post office’s mail forwarding
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 7   procedures cause a delay. The Court finds that claimants not receiving or cashing their funds in

 8   class actions cases is a serious cause for concern with recent cases having less than half of the

 9   payments cashed.       These modifications are a first step in addressing this problem.
10
            The Court notes that the attorney fees and expenses, and the objector incentive award, will
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     be paid from funds already designated as attorney fees as agreed by the parties.
12
            Therefore, the Court orders that motion filed by objectors Rodgers and Neace is
13
     GRANTED. The Settlement Administrator in this matter is directed to disburse, from attorney
14

15   fees previously approved, $1,000 as a service payment to Sammy Rodgers, $1,000 as a service

16   payment to Alvery Neace, and $47,900 in attorney fees and expenses incurred by the objectors to
17   their legal counsel.
18
     IT IS SO ORDERED.
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     Dated: _________, 2023
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                                             __________________________________
21                                           Hon. Laurel Beeler
22                                           United States Magistrate Judge

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